Case 6:15-cr-00058-JDK        Document 305           Filed 11/30/16   Page 1 of 5 PageID #: 931




                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA,                           §
                                                     §
                                                     § CASE NO. 6:15-CR-00058-RC
 v.                                                  §
                                                     §
                                                     §
 KATRINA WATTS (11),                                 §
                                                     §

          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to

 28 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On November 30, 2016, this case came before the undersigned magistrate judge for entry

 of a guilty plea by the Defendant, Katrina Watts (11), to Count Eleven of the Indictment. Count

 Eleven alleges that on or about July 17, 2013, in the Eastern District of Texas, and elsewhere,

 Katrina Watts, aided and abetted by others known and unknown to the Grand Jury, did knowingly

 and willfully offer to pay and did pay remuneration directly and indirectly, overtly and covertly,

 in cash and in kind to the Medicare beneficiary identified as “J.T.” in order to induce that

 beneficiary to arrange for home health services with Three Angels, a service for which payment

 may be made in whole or in part under a federal health care program, namely Medicare, all in

 violation of 42 U.S.C. § 1320a-7b(b)(2)(B).




                                                 1
Case 6:15-cr-00058-JDK               Document 305               Filed 11/30/16       Page 2 of 5 PageID #: 932




          The Defendant entered a plea of guilty to Count Eleven of the Indictment into the record

 at the hearing. After conducting the proceeding in the form and manner prescribed by Federal

 Rule of Criminal Procedure 11, the undersigned finds:

          a.       That the Defendant, after consultation with her attorney, has knowingly, freely and

 voluntarily consented to the administration of the guilty plea in this case by a United States

 Magistrate Judge in the Eastern District of Texas, subject to a final approval and imposition of

 sentence by the District Court.

          b.       That the Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal. The

 Defendant verified that she understood the terms of the plea agreement, and she acknowledged

 that it was her signature on the plea agreement. To the extent the plea agreement contains

 recommendations and requests pursuant to FED. R. CRIM. P. 11 (c)(1)(B), the court advised the

 Defendant that she has no right to withdraw the plea if the court does not follow the particular

 recommendations or requests. To the extent that any or all of the terms of the plea agreement are

 pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant that she will have the

 opportunity to withdraw her plea of guilty should the court not follow those particular terms of

 the plea agreement. 1


 1. “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the
 judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in
 Rule 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in
 camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and

                                                            2
Case 6:15-cr-00058-JDK               Document 305              Filed 11/30/16       Page 3 of 5 PageID #: 933




          c.       That the Defendant is fully competent and capable of entering an informed plea,

 that the Defendant is aware of the nature of the charges and the consequences of the plea, and that

 the plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant

 personally in open court, the undersigned determines that the Defendant’s plea is knowing and

 voluntary and did not result from force, threats or promises (other than the promises set forth in

 the plea agreement). See FED. R. CRIM. P. 11(b)(2).

          d.       That the Defendant’s knowing and voluntary plea is supported by an independent

 factual basis establishing each of the essential elements of the offense and the Defendant realizes

 that her conduct falls within the definition of the crime charged under 42 U.S.C. § 1320a-

 7b(b)(2)(B).

                                        STATEMENT OF REASONS

          As factual support for the Defendant’s guilty plea, the Government presented a factual

 basis. See Factual Basis. In support, the Government would prove that the Defendant is the same

 person charged in the Indictment, and that the events described in the Indictment occurred in the

 Eastern District of Texas. The Government would also have proven, beyond a reasonable doubt,

 each and every essential element of the offense as alleged in Count Eleven of the Indictment

 through the testimony of witnesses, including expert witnesses, and admissible exhibits. In support

 of the Defendant’s plea, the undersigned incorporates the proffer of evidence described in detail

 in the factual basis filed in support of the plea agreement, and the Defendant’s admissions made

 in open court in response to the undersigned’s further inquiry into the factual basis.

          The Defendant agreed with and stipulated to the evidence presented in the factual basis.

 Counsel for the Defendant and the Government attested to the Defendant’s competency and


 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)–(5).

                                                           3
Case 6:15-cr-00058-JDK          Document 305           Filed 11/30/16    Page 4 of 5 PageID #: 934




 capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented

 by the Government and personally testified that she was entering the guilty plea knowingly, freely

 and voluntarily.

                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count Eleven of the Indictment. Accordingly, it is further

 recommended that the District Court finally adjudge the Defendant, Katrina Watts (11), guilty of

 the charged offense under 42 U.S.C. § 1320a-7b(b)(2)(B).

        The District Court should defer its decision to accept or reject the plea agreement until

 there has been an opportunity to review the presentence report. If the plea agreement is rejected

 and the Defendant still persists in his guilty plea, the disposition of the case may be less favorable

 to the Defendant than that contemplated by the plea agreement. The Defendant is ordered to report

 to the United States Probation Department for the preparation of a presentence report. The

 Defendant has the right to allocute before the District Court before imposition of sentence.

                                           OBJECTIONS

        Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file objections

 to this report and recommendation. Objections to this report must: (1) be in writing, (2) specifically

 identify those findings or recommendations to which the party objects, and (3) be served and filed

 within fourteen (14) days after being served with a copy of this report, and (4) no more than eight

 (8) pages in length. See 28 U.S.C. § 636(b)(1)(c) (2009); FED. R. CIV. P. 72(b)(2); Local Rule CV-

 72(c). A party who objects to this report is entitled to a de novo determination by the United States



                                                   4
Case 6:15-cr-00058-JDK         Document 305           Filed 11/30/16    Page 5 of 5 PageID #: 935




 District Judge of those proposed findings and recommendations to which a specific objection is

 timely made. See 28 U.S.C. § 636(b)(1) (2009); FED R. CIV. P. 72(b)(3).

        A party’s failure to file specific, written objections to the proposed findings of fact and

 conclusions of law contained in this report, within fourteen (14) days of being served with a copy

 of this report, bars that party from: (1) entitlement to de novo review by the United States District

 Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275, 276–

 77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such findings

 of fact and conclusions of law accepted by the United States District Judge, see Douglass v. United

 Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc).


          So ORDERED and SIGNED this 30th day of November, 2016.




                                                  5
